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To:Courtmail@localhost.localdomain
Bcc:
−−Case Participants: Magistrate Judge Ivan D. Davis (christina_marquez@vaed.uscourts.gov,
idd_chambers@vaed.uscourts.gov, ivan_d_davis@vaed.uscourts.gov,
toni_coleman@vaed.uscourts.gov)
−−Non Case Participants:
−−No Notice Sent:

Message−Id:10006118@vaed.uscourts.gov
Subject:Activity in Case 1:21−mj−00167−IDDVAED USA v. Warnagiris Arrest − Rule 5
Content−Type: text/html

                                          U.S. District Court

                                     Eastern District of Virginia −

Notice of Electronic Filing


The following transaction was entered on 5/13/2021 at 11:48 AM EDT and filed on 5/13/2021

Case Name:       USA v. Warnagiris
Case Number:     1:21−mj−00167−IDD
Filer:
Document Number: No document attached
Docket Text:
Arrest of Christopher Warnagiris in Eastern District of Virginia (Alexandria). (lgue, )


1:21−mj−00167−IDD−1 Notice has been electronically mailed to:

1:21−mj−00167−IDD−1 Notice has been delivered by other means to:
   Case
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           1:21-cr-00382-PLFDocument
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ZoomGov


                                      TYPE OF HEARING: R5/R40
                                      CASE NUMBER: 1:21-mj-167
                                      MAGISTRATE JUDGE: Ivan D. Davis
                                      DATE: 5/13/2021
                                      TIME: 2:00 p.m.
EASTERN DISTRICT OF VIRGINIA          RECORDING: FTR
                                      DEPUTY CLERK: Laura Guerra
UNITED STATES OF AMERICA

            VS.

Christopher Warnagiris

GOVT. ATTY: ___Zoe Bedell

DEFT’S ATTY:___ w/o counsel

DUTY AFPD:____Cadence Mertz_________

INTERPRETER: ________________________
DEFT INFORMED OF RIGHTS, CHARGES AND PENALTIES (x)
DEFT INFORMED OF RIGHTS AND THE VIOLATIONS ( )
COURT TO APPOINT COUNSEL ( ) FPD ( ) CJA ( ) Conflict List ( )

Deft consents to video conferencing. Matter to be set in the District of Columbia
for further proceedings.

BOND:

Gov’t is not seeking detention. Deft placed on PR bond with conditions.
( ) DEFT IS REMANED TO THE CUSTODY OF THE USMS DUE TO
( ) RISK OF NON APPEARANCE ( ) SAFETY OF THE COMMUNITY
( ) DEFT RESERVES THE RIGHT OF THE COURTS DETERMINATION AS TO
DETENTION BASED ON A CHANGE OF CIRCUMSTANCES

NEXT COURT APPEARANCE:

TIME:

JUDGE:
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,Ao 199A (Rev. 6/97) Order Setting Conditions of Release                                                                    Page 1 of   4     Pages




                                     UNITED STATES DISTRICT COURT
                                                 Eastern            District of          Virginia~


                   United States of America
                                                                         ORDER SETTING CONDITIONS  I

                                                                                OF RELEASE
                                V.                                                                 I




                                                                     Case Number:      1:21-mj-167
            Christopher Warnagiris
                            Defendant

IT IS ORDERED that the release of the defendant is subject to the following conditions:

           (1) The defendant shall not commit any offense in violation of federal, state or l9cal law while on release in this case.

           (2) The defendant shall immediately advise the court, defense counsel and the U.S. Attorney in writing before any change in
               address and telephone number.

           (3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as
                                                                                                   I



                 directed. The defendant shall appear at (if blank, to be notified) _______-=U=m=·t__
                                                                                                   ed__S=ta
                                                                                                         __t__e__
                                                                                                               s_D_is_m_·ct-:....:C_o_urt
                                                                                                                                      _____
                                                                                                                    Place
                 _40_1_C_o_urth_o__u_se
                                     ___S_.g._,_A_le_x_an_dri_._a,._V._~                     AS
                                                                      _ _ on _ _ _ _ _ _ _ _ _ _DIRECTED
                                                                                                _ _ _ _ _ _ _ _ _ _ _ __
               333 Constitution Avenue N.W. Washington D.C. 20001                                Date and Time



                                        Release on Personal Recognizance or Unsecured Bond
 IT IS FURTHER ORDERED that the defendant be released provided that:

 ( ✓ ) (4) The defendant promises to appear at all proceedings as required and to surrerder for service of any sentence imposed.
 (      ) (5) The defendant executes an unsecured bond binding the defendant to p~y the United States the sum of
              _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ dollars($________
                in the event of a failure to appear as required or to surrender as directed for ~ervice of any sentence imposed.




                   DISTRIBUTION:       COURT      DEFENDANT     PRETRIAL      SERVICES       U.S. A:TTORNEY      U.S. MARSHAL
                                                                                                   I
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AO 199B (Rev. 12/20) Additional Conditions of Release                                                                                                  Page 2 of   4 Pages

                                                         ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
appearance of the person as required and the safety of any other person and the community.

         IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

(
    • ) (6) The defendant is placed in the custody of:
            Person or organization
              Address (only if above is an organization)
              City and state                                                                             Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.

                                                                                  Signed:
                                                                                                                  Custodian                                        Date
(
    ■
    •  ) (7) The defendant must:
        (   ■
            •
            ) (a) submit to supervision by and report for supervision to the Pretrial Services, 401 Courthouse Square, 3rd Floor, Alexandria, VA ,
                  telephone number         703-299-2300        , no later than noon on 5/14/2021                            .
        (
          • ) (b) continue or actively seek employment.
        (
          • ) (c) continue or start an education program.
        (
          • ) (d) surrender any passport to:
        (
          • ) (e) not obtain a passport or other international travel document.
        (
          ■
          • ) (f) abide by the following restrictions on personal association, residence, or travel:
                      without prior approval of Pretrial Services or the Court.
                                                                                                          Do not depart the Washington D.C. metropolitan area


        (
          ■
          • ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                  including:        No contact with any co-defendant, potential witness or victim for the charged offense unless in the presence of counsel.


        (
          • ) (h) get medical or psychiatric treatment:
        (
          • ) (i) return to custody each
                  or the following purposes:
                                                        at                         o’clock after being released at                        o’clock for employment, schooling,


        (
          • ) (j) necessary.
                      maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers

        (
          • )) (k)(l) not possess a firearm, destructive device, or other weapon.
        (
          • ) (m) not use
                      not use alcohol ( • ) at all ( • ) excessively.
        (
          • licensedmedicalorpractitioner.
                                 unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a

        (
          • ) (n) submit      to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                      random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                    prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                    of prohibited substance screening or testing.
        (
          •   ) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                    supervising officer.
        (
          •   ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                    (
                      •  ) (i) Curfew. You are restricted to your residence every day (
                                                                                                         •
                                                                                                    ) from
                                  directed by the pretrial services office or supervising officer; or
                                                                                                                           to              , or (    ) as
                                                                                                                                                                    •
                    (
                      •  ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                                 medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                                 activities approved in advance by the pretrial services office or supervising officer; or
                    (
                      •  ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                 court appearances or other activities specifically approved by the court; or
                    (
                      •  ) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
                                 you must comply with the location or travel restrictions as imposed by the court.
                                 Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technology.
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AO 199B (Rev. 12/20) Additional Conditions of Release                                                                            Page   3 of 4 Pages

                                                             ADDITIONAL CONDITIONS OF RELEASE

      (
        • ) (q) submit   to the following location monitoring technology and comply with its requirements as directed:
                (
                  • ) (ii) Voice Recognition; or
                     ) (i) Location monitoring technology as directed by the pretrial services or supervising officer; or
                (
                  • ) (iii) Radio Frequency; or
                (
                  • ) (iv) GPS.
                (
                  •
      (
        • ) (r) pay all or part of the cost of location monitoring based upon your ability to pay as determined by the pretrial services or supervising
                officer.
      (
        ■
        • ) (s) report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
                questioning, or traffic stops.
      (
        ■
        • ) (t)    Reside at current residence and not move without prior approval of Pretrial Services or the Court.
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AO 199C (Rev. 09/08) Advice of Penalties                                     Page  4    of 4                                       Pages
                                    ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

      Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your, arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
      While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
      It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or infonnant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
      If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
      (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
            not more than $250,000 or imprisoned for not more than 10 years, or both;
      (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
            more than $250,000 or imprisoned for not more than five years, or both;
      (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
      (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
      A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                     Acknowledgment of the Defendant

        I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.




                                                                                      Defendant's Signature


                                                                  City and State                                Telephone Number



                                                   Directions to the United States Marshal

(   ■) The defendant is ORDERED released after processing.
(     )   The United States marshal is ORDERED lo keep the defendant in custody until notified by the clerk or judge that the
          defendant has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be
          produced before the appropriate judge at the time and place specified.


                5/13/2021
Date: _____________                                                                    /s/ Ivan D. Davis
                                                                                      Judicial Officer's Signature


                                                                 Ivan D. Davis, United States Magistrate Judge
                                                                                        Primed name and title




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                               U.S. District Court
                    Eastern District of Virginia − (Alexandria)
              CRIMINAL DOCKET FOR CASE #: 1:21−mj−00167−IDD−1

Case title: USA v. Warnagiris                                    Date Filed: 05/13/2021

Assigned to: Magistrate Judge Ivan D. Davis

Defendant (1)
Christopher Warnagiris

Pending Counts                                            Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                         Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                Disposition
None



Plaintiff
USA

 Date Filed     # Page Docket Text
 05/13/2021              Arrest of Christopher Warnagiris in Eastern District of Virginia (Alexandria).
                         (lgue, ) (Entered: 05/13/2021)
 05/13/2021     1        Arrest Warrant Returned Executed on 5/13/2021 in case as to Christopher
                         Warnagiris. (lgue, ) (Entered: 05/13/2021)
 05/13/2021     2        Minute Entry for proceedings held before Magistrate Judge Ivan D. Davis:Initial
                         Appearance in Rule 5(c)(3) Proceedings via ZoomGov as to Christopher
                         Warnagiris held on 5/13/2021. US appeared through: Zoe Bedell. Deft appeared
                         without counsel. Duty AFPD: Cadence Mertz present. Deft informed of rights,
                         charges, and penalties. Deft consents to video conferencing. Matter to be set in
                         the District of Columbia for further proceedings. Gov't is not seeking detention.
   Case 1:21-cr-00382-PLF    Document 12         Filed 05/14/21      Page 13 of 13



                  Deft placed on PR bond with conditions. (Tape #FTR.)(lgue, ) (Entered:
                  05/13/2021)
05/13/2021   3    ORDER Setting Conditions of Release as to Christopher Warnagiris (1) PR
                  Bond. Signed by Magistrate Judge Ivan D. Davis on 5/13/2021. (lgue, ) (Entered:
                  05/13/2021)
05/14/2021   4    PR Bond Bond Entered as to Christopher Warnagiris (lgue, ) (Entered:
                  05/14/2021)
